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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ROBERT MUNRO on behalf of himself and
all others similarly situated,                            Bankruptcy Case No.. 24-32884
                                                                   Chapter 7
                       Plaintiff,                           Adversary Proceeding No.:

 v.

US LOGISTICS SOLUTIONS INC                                CLASS ACTION ADVERSARY
                                                           PROCEEDING COMPLAINT
                    Defendant.

               CLASS ACTION ADVERSARY PROCEEDING COMPLAINT

       Plaintiff Robert Munro (“Plaintiff”) by and through undersigned counsel, on behalf of

himself and all other similarly situated persons, as and for their complaint against Defendant, allege

as follows:

                                    JURISDICTION AND VENUE

               1.      This Court has jurisdiction over this adversary proceeding pursuant to 28

U.S.C. §§ 157, 1331, 1334 and 1367.

               2.      This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (B) and (O).


                                    NATURE OF THE ACTION

               3.      This is a class action for the recovery by Plaintiff and other similarly situated

employees of the Defendant of damages in the amount of 60 days’ pay and ERISA benefits by

reason of Defendant’s violation of the Plaintiff’s rights under the Worker Adjustment and Retraining

Notification Act, 29 U.S.C. § 2101 et seq. (“WARN Act”). The Plaintiff was an employee of the

Defendant and was terminated as part of, or as a result of mass layoffs and/or plant closings ordered

by the Defendant. As such, the Defendant violated the WARN Act by failing to give the Plaintiff
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and other similarly situated employees of the Defendant at least 60 days’ advance written notice of

termination, as required by the WARN Act. As a consequence, the Plaintiff and other similarly

situated employees of the Defendant are entitled under the WARN Act to recover from the

Defendant their wages and ERISA benefits for 60 days, none of which has been paid.

                4.      Plaintiff also brings this action on behalf of himself and all other similarly

situated employees seeking accrued vacation pay.

                                              PARTIES

                5.      Upon information and belief, Defendant, was, at all relevant times to this

action, a Texas corporation which maintained facilities in Humble, TX, (the “Humble Facility”

Atlanta, GA (the “Atlanta Facility”) as well as other facilities (collectively with the Humble

Facility, and Atlanta Facility, “the Facilities”).

                6.      At all relevant times to this action, Plaintiff Robert Munro was an employee

who was employed by Defendant and worked at or reported to the Atlanta Facility until his

termination without cause on or about June 20 2024.

                7.      Until on or about June 20, 2024, Plaintiff and all other similarly situated

employees, were employed by Defendant and worked at, or reported to, or were assigned work from

the Facilities (“Other Similarly Situated Employees”).

                8.      On or about June 20, 2024 and thereafter, Defendant ordered the termination

of Plaintiff’s employment together with the termination of approximately 2000 other employees who

worked at or reported to or were assigned work from the Facilities as part of a mass layoff and/or

plant closing as defined by the WARN Act, for which they were entitled to receive 60 days advance

written notice under the WARN Act.



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                9.      On or about June 21, 2024, Defendant filed with this Court a voluntary

petition for relief under Chapter 7 of the United States Bankruptcy Code.

                     CLASS ACTION ALLEGATIONS 29 U.S.C. § 2104 (a)(5)

                10.     The Plaintiff and each person he seeks to represent herein, were discharged on

or about June 20, 2024 and thereafter without cause on his or her part and are "affected employees"

within the meaning of 29 U.S.C. § 2101(a)(5).

                11.     The Plaintiff brings this action on his own behalf and, pursuant to the WARN

Act, and Rules 7023(a) and (b)(3) of the Federal Rules of Bankruptcy and Rules 23(a) and (b) of the

Federal Rules of Civil Procedure, on behalf of all other similarly situated former employees of

Defendant who were terminated on or about June 20, 2024 and thereafter, who worked at the

Facilities until their terminations.

                12.     On or about June 20, 2024 and thereafter, Defendant terminated the Plaintiff’s

employment as part of mass layoffs and/or plant closures which qualifies as an event for which they

were entitled to receive to sixty (60) days' advance written notice under the WARN Act.

                13.     Defendant never gave Plaintiff the statutorily required sixty (60) days advance

written notice of the mass layoff and/or plant closure in violation of the WARN Act.

                14.     At or about the time that the Plaintiff was discharged on or about June 20,

2024 and thereafter, Defendant discharged approximately 2000 other employees at the Facilities (the

"Other Similarly Situated Former Employees").

                15.     Pursuant to WARN Act 29 U.S.C. § 2104(a)(5), the Plaintiff maintains this

claim on behalf of each of the Class and for his or her benefit.

                16.     Each of the Other Similarly Situated Former Employees is similarly situated

to the Plaintiff in respect to his or her rights under the WARN Act.

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                17.    The Plaintiff and the Other Similarly Situated Former Employees were

discharged by Defendant, without cause on their part.

                16.    Each Plaintiff and each of the Other Similarly Situated Former Employees is

an "affected employee" within the meaning of WARN Act 29 U.S.C. § 2101(a)(5).

                17.    Defendant was required by the WARN Act to give the Plaintiff and Other

Similarly Situated Former Employees at least sixty (60) days prior written notice of their respective

terminations.

                18.    Prior to their termination, neither the Plaintiff nor Other Similarly Situated

Former Employees received written notice that complied with the requirements of the WARN Act.

                19.    Defendant failed to pay the Plaintiff and the Other Similarly Situated Former

Employees their respective wages, salary, commissions, bonuses, accrued holiday pay and accrued

vacation for sixty (60) calendar days following their respective terminations and failed to make the

401(k) contributions and provide health insurance coverage and other employee benefits under

ERISA in respect to them for sixty (60) calendar days from and after the dates of their respective

terminations.

                  CLASS ACTION ALLEGATIONS RULE 7023 (a) and (b)

                20.    The Plaintiff asserts his claims on behalf of themselves and the Other

Similarly Situated Former Employees pursuant to Rules 7023(a) and (b)(3) of the Federal Rules of

Bankruptcy and Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure.

                21.    The Plaintiff and the Other Similarly Situated Former Employees constitute a

class within the meaning of Rules 7023(a) and (b)(3) of the Federal Rules of Bankruptcy and Rules

23(a) and (b)(3) of the Federal Rules of Civil Procedure (the “Class”).

                22.    Common questions of law and fact are applicable to all members of the Class.

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                 23.   The common questions of law and fact arise from and concern the following

facts and actions, among others, that Defendant committed or failed to commit as to all members of

the Class: all Class Members enjoyed the protection of the WARN Act; all Class members were

employees of Defendant who, prior to the terminations, worked at the Facilities; Defendant

terminated the employment of all the members of the Class without cause on their part without

giving them at least sixty (60) days' prior written notice as required by the WARN Act; and

Defendant failed to pay the Class Members wages and to provide other employee benefits for the

sixty (60) day period following their respective terminations.

                 24.   The questions of law and fact common to the members of the Class, as above

noted, predominate over any questions affecting only individual members, and thus, this Class claim

is superior to other available methods for the fair and efficient adjudication of this controversy.

                 25.   The Plaintiff’ claims are typical of the claims of other members of the Class in

that for each of the several acts described above.

                 26.   The Plaintiff will fairly and adequately protect and represent the interests of

the Class.

                 27.   The Plaintiff has the time and resources to prosecute this action and have

retained counsel who have had extensive experience in matters involving employee rights, the

WARN Act, class action litigation and bankruptcy court litigation.

                 28.   The Class is so numerous as to render joinder of all members impracticable as

there are approximately 2000 persons who are included in the Class.

                 29.   The Class meets the requirements of Fed. R. Civ. P. 23(a) for class

certification.

                 30.   The Class meets the requirements of Fed. R. Civ. P. 23(b)(3) because the

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questions of law or fact common to the members of the Class predominate over any questions

affecting only individual members, and that a class action is superior to other available methods for

the fair and efficient adjudication of the controversy.

               31.      No Class member has an interest in individually controlling the prosecution of

a separate action under the WARN Act.

               32.      No litigation concerning the WARN Act rights of any Class member has been

commenced in this Court.

               33.      Concentrating all the potential litigation concerning the WARN Act rights of

the Class members in this Court will avoid a multiplicity of suits, will conserve judicial resources

and the resources of the parties and is the most efficient means of resolving the WARN Act rights of

all the Class members.

               34.      On information and belief, the identities of the Class members are contained

in the books and records of Defendant.

               35.      On information and belief, a recent residence address of each of the Class

members is contained in the books and records of Defendant.

               36.      On information and belief, the rate of pay and benefits that were being paid by

Defendant to each Class member at the time of his/her termination are contained in the books and

records of Defendant.

               37.      As a result of Defendant’s violation of the WARN Act, the Plaintiff and

the other members of the Class have been damaged in amounts equal to the sum of: (a) their

respective lost wages, salaries, commissions, bonuses, accrued holiday pay, accrued vacation

pay, 401(k) contributions for sixty (60) days; (b) the health and medical insurance and other

fringe benefits that they would have received or had the benefit of receiving, for a period of sixty

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(60) days after the dates of their respective terminations; and (c) medical expenses incurred

during such period by such persons that would have been covered and paid under the then

applicable employee benefit plans had that coverage continued for that period.

                                   THE CLAIM FOR RELIEF

                           First Cause of Action: Federal WARN Act

                38.     At all relevant times, the Defendant employed 100 or more employees

(exclusive of part-time employees, i.e., those employees who had worked fewer than 6 of the 12

months prior to the date notice was required to be given or who had worked fewer than an average of

20 hours per week during the 60 day period prior to the date notice was required to be given (the

“Part-Time Employees”)), or employed 100 or more employees who in the aggregate worked at least

4,000 hours per week exclusive of hours of overtime within the United States.

                39.     At all relevant times, Defendant was an “employer,” as that term is defined in

the WARN Act and continued to operate as a business until it determined to order mass layoffs

and/or plant closures at the Facilities.

                40.     On or about June 20, 2024 and thereafter the Defendant ordered “mass

layoffs” and/or “plant closures” at the Facilities, as those terms are defined by the WARN Act.

                41.     The mass layoffs and/or plant closures at the Facilities resulted in

“employment losses,” as that term is defined by the WARN Act for at least fifty (50) of Defendant’s

employees as well as 33% of Defendant’s workforce at each Facility, excluding “part-time

employees,” as that term is defined by the WARN Act.

                42.     The Plaintiff and each of the other members of the Class were discharged by

the Defendant without cause on his or her part as part of or as the reasonably foreseeable result of the

mass layoff and/or plant closure ordered by the Defendant at the Facilities

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               43.      The Plaintiff and each of the other members of the Class are “affected

employees” of the Defendant within the meaning of the WARN Act.

               44.      The Defendant was required by the WARN Act to give the Plaintiff and each

of the other members of the Class at least 60 days advance written notice of his or her termination.

               45.      The Defendant failed to give the Plaintiff and other members of the Class

written notice that complied with the requirements of the WARN Act.

               46.      The Plaintiff and each of the other members of the Class are “aggrieved

employees” of the Defendant as that term is defined in the WARN Act.

               47.      The Defendant failed to pay the Plaintiff and each of the other members of the

Class their respective wages, salary, commissions, bonuses, accrued holiday pay and accrued

vacation for 60 days following their respective terminations and failed to make the pension and

401(k) contributions and provide employee benefits under ERISA, other than health insurance, for

60 days from and after the dates of their respective terminations.

                            Second Cause of Action: Vacation Claim


               48.      Plaintiff realleges and incorporates by reference all allegations in all

preceding paragraphs.

               49.      During Plaintiff’s employment with Defendant, Defendant maintained a

Vacation pay policy whereby employees were entitled to Vacation pay even in the event of a

termination.

               50.      Defendant was therefore obligated to pay Plaintiff in full for his Vacation

pay upon her termination but failed to do so.




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               51.    Plaintiff and the Class Member are therefore entitled to payments for

Vacation which was due and owing upon their terminations.


               52.    The relief sought in this proceeding is equitable in nature.

         WHEREFORE, Plaintiff on their own behalf and on behalf of the other Class members

demand judgment, jointly and severally, against Defendant as follows:

               A.     An allowed claim against the Defendant in favor of the Plaintiff and Class

members equal to the sum of: (a) unpaid wages, salary, commissions, bonuses, accrued holiday pay,

accrued vacation pay, pension and 401(k) contributions and other ERISA benefits, for 60 days, that

would have been covered and paid under the then applicable employee benefit plans had that

coverage continued for that period, all determined in accordance with the WARN Act, The first

$15,150.00 of each Class member’s allowed WARN Act claim against the Defendant is entitled to

wage priority claim status under 11 U.S.C. § 507(a)(4) and (5), and any remainder as a general

unsecured claim;

               B.     Certification that the Plaintiff and the other Class members constitute a single

class;

               C.     Appointment of the undersigned attorneys as Class Counsel;

               D.     Appointment of Plaintiff as the Class Representatives and payment of

reasonable compensation to them for their services as such;

               E.     An allowed claim against the Defendant under 11 U.S.C. § 503 for the

reasonable attorneys’ fees and the costs and disbursements that the Plaintiff incurs in prosecuting

this action, as authorized by the WARN Act, 29 U.S.C. § 2104(a)(6); and

               F.     Such other and further relief as this Court may deem just and proper.


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                                    Respectfully submitted,

June 24, 2024

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